Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 1 of 19




                 Exhibit 2
       Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 2 of 19




                                                                                  (:()NFIDENTit\l,

                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF :MASSACHUSETTS
                                       BOSTON DIVISION


 TYPEMOCK, LTD.,

                   Plaintift~
                                                      Case No.: 1: 17-cv-10274-RGS
 V.

 TELERII< INC.,

                   Dtifendant.


       I>LAL"fTIFF TYPEMOCK, LTD.'S FIRST AMENDED At'\fD SUPPLKMENTAL
                  OBJECTIONS AND RESPONSES TO DEFENDANT'S
                        FlRST SET OF' INTERROGATORIES

       Plaintiff Typemock, Ltd. ("Plaintiff' or "Typemock") provides the following first

amended and supplemental objections and responses to Defendant's First Set of Interrogatories.

                                     GENERAL OBJECTIONS

       1.      Typemock objects to these Interrogatories to the extent they seek disclosure of

matter protected under the doctrines of attorney-client privilege and/or attorntiy work product,

and/or matttir that is otherwise protected from disclosure.

       2.      Typemock objects to discovery concerning "Related Patents" as defined to

include patents outside the family claiming priority based on U.S. Prov. Pat. App. SIN

60/826, 749 as such discovery as irrelevant and disproportionate to the needs of the case.

       3.      Typemock o~jects to these Interrogatories to the extent they are premature in light

of the timetable set forth in the Scheduling Order. (Dkt. Nos. 35, 38, and 39.)

       4.      Typemock objects to the definitions and instructions set forth in these

Interrogatories to the extent they seek to impose obligations in excess of those authorized under
        Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 3 of 19




                                                                                 CONFIDENTIAL

the Federal Rules of Civil Procedure and Local Rules 26.5 and 33. l.

       5.      Typemock objects to these Interrogatories to the extent they seek information as

to patent claims that are not being asserted in this case.

       6.      Typemock reserves the right to supplement its responses to these Interrogatories

based on information it learns during the pendency of this action.

       7.      Unless stated otherwise, any date in Typemock's response shall be interpreted to

be "on or about" the specified date.

        8.     Typemock o~jects to the term ''Isolator product" as undefined, vague and

ambiguous, and objects to the definition of "Embodying Product" as calling for a legal

conclusion.

                                       L.''•fl'ERROGATORIES

Interrogatory No. 1: Idtmtify the product name (e.g., Isolator 8.x for .NET), type (t,.g., Basic,
SharePoint, Essential, Complete, ... ), version and build number ( e.g., 8.x:.x), and internal code
name(s) of each Isolator product and Embodying Product for w-hich Typemock has made, ust,d,
offered to sell, sold (directly or through intermediaries), and/or publically [sic] demonstrated or
released. This identification should be provided in spreadsheet or table format and include at least
the following information:




Response No. 1: Typemock interprets the term "Isolator product" (which is undefined) to include

Typemock's product currently called Isolator, and all predecessors ofth,~ same. It further objects

to the definition of "Type" as being vague and unclear. It interprets "Type" to mean

differentiating product or use characteristics. Typemock objects to the extent this Interrogatory

(and other Interrogatories below that are based on answers to this Interrogatory) addresses



                                                   2
         Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 4 of 19




                                                                                 (:()NFIDENTI1\l,

Typemock products that existed solely internally for development and/or did not embody any of

the patents-in-suit. Subject to the foregoing and its general objections, Typemock responds to the

best of its knowledge as follows:


   Tvoemock.NtT             Internal                       2.0
   Tvocmock.NET             Experimental                   2.1
   Tvpcmock.NET             Experimental                   2.2
   Tvpemock.NET             Experimental                   2.3
 _Tvpemock.NET              Experimental                   2.3.9.1 Beta     .Net 2.0 Beta
 __J_ypemock.NET            Experimental                   2.3.9.2 Beta     .Net 2.0 Beta
   Typemock.NET             Experimental                   3.0 Beta         .Net 2.0 Beta
   Typemock.NET             First commercial               3.0
                            release (see response to
                            Interrogatories 2 and 7)
    T'Yl)CIIlOCk.NET                                       3.0.l
   }"vuemock.NET                                           3.0.3
  __Jvoemock.NET                                           3.1 Beta
   _J_ypemock.NET                                          3.1
    Tvpemock.NET                                           3.1.l
    Typernock. NET                                         3.1.3
    Tvnernock.NET                                          3.1.4
    Typernock.NET                                          3,5.0
    Typemoc:k .NET                                         3,5.1
 __:_~).pernock .NET                                       3.5.2
    Typemock.NET                                           3.6.0
    Typemock.NET                                           3.6.1
    Typemock.NET                                           3.7.0
    Tvncmock.NET                                           3.7.1
    TVl)ClllOCk.NET                                        4.0
    Tv1}cmock.NET                                          4.0.2
    Tvpemock.NET                                           4.0.3
  _J_ypemock.NET                                           4.0.5
   :_f_ypemock.NET                                         4.1
    Typemock.NET                                           4.2
    Typernock Isolator      32bit 64 bit                   5.0
    Typernock Isolator      32bit 64 bi1                   5.l
    Typernock Isolator      32bit, 64 bi1                  5.l.l
    Typernoc:k Isolator     32bit, 64 bit,                 5.1.2
                            Sharepoint, for
                            OpenSource



  Typemock Isolator          32bit, 64 bit.                5.2
                             Sharepoint, for
                             OuenSourcc
  Typemock Isolator          32bit, 64 bit,                5.2.1
                             Sharepoint, for
                             OpenSource



                                                       3
      Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 5 of 19




                                                                  C:()NFIDENTI;\l,

Typcmock Isolator         32bit, 64 bit,                 5.2.2
                          Sharepoint, for
                          OnenSource
Typemock Isolator         32bit, 64 bit,                 5.2.3
                          Sharepoint, for
                          OoeuSource
Typemock Isolator         32bit, 64 bit,                 5.3
                          Sharepoint, for
                          OucnSource
Type.mock Isolator        32bit, 64 bit,                 5.3.1
                          Sharepoint, for
                          OuenSource
Typemock Isolator         32bit, 64 bit,                 5.3.4
                          Sharepoint, for
                          OnenSource
Typemock Isolator         32bit, 64 bit,                 5.3.5
                          Sharepoint, for
                          ODenSource
Typemock Isolator         32bit, 64 bit,                 5.4
                          Sharcpoint, for
                          OuenSource
Typemock Isolator         3 2bit, 64 bit,                5.4.2.
                          Sharepoint, for
                          OnenSource
Typemock Isolator         32bit, 64 bit,                 5.4.3
                          Sharepoint, for
                          OpeuSource
Typemock Isolator         32bit, 64 bit,                 5.4.4
                          Sharepoint, for
                          OnenSource
Typemock Isolator         32bit, 64 bit.                 5.4.5
                          Sharepoint, for
                          OoenSomce
Typemoc:k [solator 2010   2010,                          6.0
                          Sharepoint,
                          for OnenSource. Server
Typemock Isolator 2010    2010,                          6.0.l
                          Sharepoint,
                          for OocnSource Server
Type mock Isolator 2010   2010,                          6.0.2
                          Sharepoint,
                          for OpenSomce, Seiver
Typemock Isolator 2010    2010,                          6.0.3
                          Sharepoint,
                          for OnenSourcc, Server
Typemock Isolator 2010    2010,                          6.0.4
                          Sharepoint,
                          for OocnSource Server
Typemock Isolator 2010    2010,                          6.0.6
                           Sharcpoint,
                          for OnenSource. Server
Typcmock Isolator 2010    2010,                          6.0.8
                          Sharepoint,
                           for OnenSourcc. Se:ivcr



                                                     4
      Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 6 of 19




                                                                CONFIDENTIAL

Type mock Isolator 2010   2010,                        6.0.9
                          Sharepoint,
                          for OoenSource, Server
Typemock Isolator 2010    2010,                        6.0.10
                          Sharepoint,
                          for QpenSource, Server
Typemock Isolator 2010    2010,                        6.1
                          Sharepoint,
                          for OpenSource Server
Typemock Isolator 2010    2010,                        6.1.1
                          Sharepoint,
                          for OpenSource, Server
Typemock Isolator 2010    2010,                        6.1.2
                          Sharepoint,
                          for OvenSource, Server
Typemock Isolator 2010    2010,                        6.2
                          Sharepoint,
                          for OoenSource Server
Typemock Isolator 2010    2010,                        6.2.1
                          Sharcpoint,
                          for OnenSource Server
Typemock Isolator 2010    2010,                        6.2.2
                          Sllarepoint,
                          for OnenSource. Server
Typemock Isolator 2010    2010,                        6.2.3
                          Sharepoint,
                          for OpenSource, Server
Typemock Isolator 2010    2010,                        6.2.5
                          Sharepoint,
                          for OuenSource Server
Typemock Isolator         Basic, Essential,            7.0.0
                          Complete
Typemock Isolator         Basic, Essential,            7.0.1
                          Comnlete
Typemock Isolator         Basic, Essential,            7.0.2
                          Complete
Typernoc:k Isolator       Basic, Essential,            7.0.3
                          Complete
Typernock Isolator        Basic, Essential,            7.0.4
                          Conmlete
Typemock Isolator         Basic, Essential,            7.0.5
                           Comnlete
Typemock Isolator         Basic, Essential,            7.0.6
                           Complete
Typemock Isolator         Basic, Essential,            7.0.7
                           Complete
Typcmock Isolator         Basic, Essential,            7.0.8
                           Complete
Typemock Isolator         Basic, Essential,            7.0.9
                           Comnlete
Typemock Isolator         Basic, Essential,            7.0.10
                           (',.o mplcte
Typemoc:k Isolator         Basic, Essential,           7.1.1
                           C',.o mplcte




                                                   5
      Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 7 of 19




                                                           C:C)NFIDENTI;\l,

Typcmock Isolator    Basic, Essential,       7.1.2
                     Comnlete
Typemock Isolator    Basic, Essential,       7.U
                     Complete
Typemock Isolator    Basic, Essential,       7.1.4
                     C'..omplcte
Typemock Isolator    Basic, Essential,       7.1.5
                     Complete
Typcmock Isolator    Basic, Essential,       7. l.6
                     Complete
Typcmock Isolator    Basic, Essential,       7.1.7
                     Corrrnlete
Typemock Isolator    Basic, Essential,       7.2
                     Complete
Typemock Isolator    Basic, Essential,       7.2.1
                     Complete
Typemock Isolator    Basic, Essential,       7.2.2
                     Complete
Typcmock Isolator    Basic, Essential,       7.2.3
                     Complete
Typemock Isolator    Basic, Essential,       7.2.4
                     Comulete
Typemock Isolator    Basic, Essential,       7.2.5
                     C'..omplcte
Typemoc:k Isolator   Basic, Essential,       7.2..6
                     Conmlete
Typemock Isolator    Basic, Essential,       7.3
                     Complete
Typemock Isolator    Basic, Essential,       7.3.l
                     Complete
Typemock Isolator    Basic, Essential,       7.3.2
                     Complete
Typemock Isolator    Basic, Essential,       7.4
                     Complete
Typemock Isolator    Basic, Essential,       7.4.1
                     Complete
Typemock Isolator    Basic, Essential,       7.4.2
                     Complete
Typemock Isolator    Basic, Essential,       7.4.3
                     Complete
Typemock [solator    Basic, Essential,       7.5
                     Complete
Typemock Isolator    Basic, Essential,       7.5.1
                     Complete
Typemock Isolator    Basic, Essential,       7.5.2
                     Conmlete
Typemock Isolator    Basic, Essential,       7.5.3
                     Complete
Typemock Isolator    Basic, Essential,       7.5.4
                     Complete
Typcmock Isolator    Basic, Essential,       7.5.5
                     ('..,omplete
Typemock Isolator    Basic, Essential,       7.5.6
                     Comnlete


                                         6
      Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 8 of 19




                                                           CONFIDENTIAL

Typcmock Isolator     Basic, Essential,       8.0
                      Complete
Typemock Isolator     Basic, Essential,       8.0.l
                      Complete
Typemock lsolator     Basic, Essential.       8.0.3
                      Complete
Typemock Isolator     Basic, Essential,       8.0.4
                      Complete
Typemock Isolator     Basic, Essential,       8.0.5
                      Complete
Typemock Isolator     Basic, Essential,       8.0.6
                      Complete
Typemock Isolator     Basic. Essential,       8.1
                      Conmlete
Typemock Isolator     Basic. Essential,       8.1. l
                      Complete
Typemock Isolator     Basic, Essential,       8.1.2
                      Complete
Typemock Isolator     Basic, Essential,       8.1.3
                      Complete
Typemock Isolator     Basic, Essential,       8.1.4
                      Complete
Typemock Isolator     Basic, Essential,       8.2
                      C'..omplete
Typernoc:k Isolator   Basic, Essential,       8.2.. I
                      Complete
Typemock Isolator     Basic, Essential,       8.2..2
                      Complete
Typemock Isolator     Basic, Essential,       8.2.3
                      Complete
Typemock Isolator     Basic, Essential,       8.3
                      Complete
Typemock Isolator     Basic, Essential,       8.4
                      Complete
Typemock Isolator     Basic, Essential,       8.4.1
                      Complete
Typemock Isolator     Basic, Essential,       8.4.2
                      Comnlete
Typemock Isolator     Basic, Essential,       8.4.3
                      Complete
Typemock Isolator     Basic, Essential,       8.5
                      Complete
Typemock Isolator     Basic, Essential,       8.5.1
                      Complete
Typemock Isolator     Basic, Essential,       8.5.2
                      Conmlete
Typemock Isolator     Basic, Essential,       8.6
                      Complete




                                          7
         Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 9 of 19




                                                                                CONFIDENTIAL

Interrogatory No. 2: Separately for each Isolator product and Embodying Product identified in
response to Interrogatory No. l, identify the date that the product was first made, used, offered
for sale, sold (directly or through intermediaries), and/or publically [sic] demonstrated or
released.


Response No. 2: Typemock objects to the terms "publically [sic] demonstrated or released" as

vague and ambiguous, and also objects to extent that answering this Interrogatory requires

Typemock to make legal conclusions and/or requires information solely in the possession of third

parties. Subject to the foregoing (including Typemock's objections to Interrogatory No. 1) and to

Typemock's general objections, Typemock answers this Interrogatory as follows:

The date each identified product "was first made":


 2.0                                      16-Jan-2005
 2.1                                      3-Feb-2005
 2.2                                      22-Mar-2005
 2.3                                      17-May-2005
 2.3.2                                    17-Jun-2005
 2.3.9.l Beta                             5-Sep-2005
 2.3.9.2Beta                              14-Seo-2005
 3.0 Beta                                 3-0ct-2005
 3.0                                      23-Nov-2005
 3.0.l                                    30-Nov-2005
 3.0.3                                    14-Feb-2006
 3.1 Beta                                 21-Mar-2006
 3.1                                      4-Feb-2006
 3.1.l                                    6-Apr-2006
 3.l.3                                    28-Apr-2006
 :U.4                                     23-May-2006
 3.5.0                                    26-Jun-2006
 3.5.1                                    2-Jul-2006
 3.5.2                                    22-Aug-2006
 3.6.0                                    21-Sep-2006
 3.6.l                                    2-Nov-2006
 3.7.0                                    20-Feb-2007
 3.7.l                                    22-Feb-2007
 4.0                                      15-May-2007
 4.0.2                                    26-Jun-2007
 4.0.3                                    16-Jul-2007
 4.0.5                                    18-Sep-2007
 4.1                                      2-0ct-2007
 4.2                                      18-Jan-2008
 5.0                                      l 8-Aug-2008
 5.1                                      23-0ct-2008



                                                 8
         Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 10 of 19




                                                               CONFIDENTIAL

5. l.l                             29-0ct-2008
5.1.2                              24-Nov-2008
5.2                                12-Jan-2009
5.2.1                              19-Jan-2009
5.2.2                              25-Feb-2009
5.2.3                              8-Mar-2009
5.3                                23-Mar-2009
5.3.1                              3-Jun-2009
5.3.4                              19-Aug-2009
5.3.5                              17-Sep-2009
 ....
5 ,,                               8-0ct-2009
5.4.2.                             18-0ct-2009
5.4.3                              26-0ct-2009
5.4.4                              16-Nov-2009
5.4.5                              2-Dec-2009
6.0                                l 8-Jan-20 l 0
6.0.l                              14-Feb-2010
6.0.2                              25-Mar-2010
6.0.3                              29-Mav-2010
6.0.4                              21-Jun-2010
6.0.6                              l I -Aug-2010
6.0.8                              16-Niar-2011
6.0.9                              4-Mav-201 l
6.0.10                             25-Mav-2011
6.1                                l 9-Jul-2011
6.1.l                              1-Aug-2011
6.1.2                              15-Aug-2011
6.2                                21-Nov-2011
6.2.l                              23-Nov-2011
6.2.2                              29-Nov-20 J 1
6.2.3                              26-Dcc-2011
6.2.5                              3l-Jan-2012
7.0.0                               12-Mar-2012
7.0.l                              15-Mar-2012
7.0.2                              20-Mar-2012
7.0.3                              25-Mar-2012
7.0.4                              1-Apr-2012
7.0.5                               l l -Ai>r-2012
7.0,6                              29-Ai>r-2012
7,0,7                              18-Jun-2012
7.0.8                              10-Jul-2012
7.0.9                              6-Aug-2012
7.0,10                             5-Seo-2012
7.1.l                               19-Seo-2012
7. l.2                              I9-Se1>-20 12
7.1.3                              2-0ct-2012
7.1.4                               !O-Oc:t-2012
7.1.5                               14-0c:t-2012
7.1.6                              7-Nov-2012
7.1.7                              3-Jan-2013
7.2                                20-Jan-2013
7.2.1                              28-Jan-2013
7.2.2                              7-Feb-2013


                                            9
           Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 11 of 19




                                                                 (:()NFIDENTJ;\_l,

7.2.3                                  IO-Fcb-2013
7.2.4                                  I 2-Fcb-20 .13
7.2.5                                  14-Feb-2013
7.2.6                                  20-Feb-2013
7. __~.,                               24-Feb-2013
7.3.1                                  26-Feb-2013
7.3.2                                  27-Feb-2013
7.4                                    9-Mav-2013
7.4.l                                  30-Jun-2013
7.4.2                                  28-Aug-2013
7.4,3                                  15-Jan-2014
7.5                                    21-May-2014
7.5.1                                  25-Jun-2014
7.5.2                                  30-Jul-2014
7.5.3                                  27-Aug-2014
7.5.4                                  8-Sep-2014
7.5.5                                  !O-Seo-2014
7.5.6                                  30-Seo-2014
8.0                                    27-Jan-2015
8.0.1                                  23-Feb-2015
8.0.3                                  18-Mar-2015
8.0.4                                  26-Mar-2015
8.0.5                                  3l-Mar-2015
8.0.6                                  26-Aur-2015
8.1                                    5~.Mav-2015
8.1.l                                  12-Mav-2015
8.1.2                                  9-Jun-2015
8.1.3                                  24-Jun-2015
8.1.4                                  3-Jul-2015
8.2                                     13-Aug-2015
8.2.l                                   I0-Sc1>-20l 5
8.2.2                                  30-Seo-2015
8.2.3                                  20-0ct-2015
8.3                                    21-Feb-2016
8.4                                    14-Jun-2016
8.4.1                                  21-Jun-2016
8.4.2                                  10-Jul-2016
8.4.3                                  1-Aug-2016
8,5                                    10-Sep-2016
8.5.l                                  29-Seo-2016
8.5.2                                  ll -Dec-2016
8.6                                    9-Mav-2017



* All versions were made in Israel by Typemock.




                                              10
        Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 12 of 19




                                                                                  CONFIDENTIAL

The date each identified product was ''used, offered for sale, sold (directly or through

intermediaries), and/ol' publically [sic] demonstrated or released":

Versions 1.x

        Product versions with numbers 1.x shov,,11 on Wayback Machine pages, pointed out by

Telerik's counsel, are not for the Isolator product, and a.re not relevant to any claims or defenses

in the litigation.

Versions 2.0 to 3.0 Beta

        Version 2.0, and any prior versions of the Isolator product, were internal to Typemock

        Versions 2.1 - 3.0 Beta (and in general all versions prior to version 3.0) were

experimental versions, with which the inventor was seeking to establish that the general subject

matter of implementing unit testing by isolating components was workable; to determine what

refinements were necessary to make the subjt~ct matter useful for a reasonable range of use cases;

and to work out how such additional fune,iionality could be incorporated in a manner that did not

break existing functionality.

        Versions 2.1 - 3. 0 Beta could be downloaded from Typemock' s web site for testing.

Typemock believes on the basis of currently available information that "Buy" links may have

been provided on its web site during this period for these versions, but that any such links were

not functional to purchase a license by an electronic transaction, and led instead to an email form,

with which a prospective user could submit contact and related information for evaluation by

Typemock as to the appropriateness of the prospective user as a tester. Licenses were issued for

limited times and, in the case of these versions, for purposes of testing.

         On recent review, it was determined that there were two payments associated with

licenses for versions prior to version 3.0, one activatt~d on August 22, 2005 to a company



                                                  11
        Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 13 of 19




                                                                                  CONFIDENTIAL

believed to be based in thti UK, and the other activated on August 3, 2005, to a company

believed to be based in the U.S.

         With rngard to the aforementioned one (1) license in the name ofa company now

believed to have been based in the U.S., a payment was recorded by Typemock on August 28,

2006, which was the date Typemock 's financial system was launched. Typemock believes the

payment likely took place before August 28, 2006, but at an uncertain, prior date. Typemock has

not located any other record related to this payment.

         Typemock contends that, to the extent any of the activity more than one year prior to the

date of said provisional patent application (the "Critical Date") could otherwise constitute public

use or being on sale in the U.S., the activity is within the doctrine of experimental use and

therefore not invalidating of any claims whose subject matter may have been embodied in

Typemock' s software at that time.

Y.~,rni.9ns 3.0 and th&rnf;_!Jl.©I

         To the best Typemock has been able to dt~termine based on currently available

information, version 3.0 was the first commercial release of the Isolator product, and was first

offered for sale on Nov. 23, 2005 (see response to Interrogatory No. 7). Generally, each identified

version from and after version 3.0 was released within a short period after the date it was made,

as noted in the table above.

Reference to Documents

         rn further response to this Interrogatory, Typemock also refers to documents to be
produced in response to Telerik's request for Documents No. 34.




                                                 12
       Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 14 of 19




                                                                                    CONFIDENTIAL

Interrogatory No. 3: Separately for each Isolator product and Embodying Product id,mtified in
response to Interrogatory No. 1, state your quarterly total revenues, costs, and profits associated
with each such produc..i, and describe your methods for calculating such figures.


Response No. 3: Typemock repeat,; its objections to Interrogatories Nos. 1 and 2. Typemock

further objects to this Interrogatory insofar as it does not have data in the form requested and

putting it in that form would be disproportionate to the needs of the case and imprecise at best.

Su~ject to the foregoing and the general objections, Typemock states that documents relevant to

this Interrogatory will be provided in response to Telerik's First Set of Request..,;; for Production of

Documents and Things as set forth in Typemock's responses thereto.



Interrogatory No. 4: Separately, for each asserted claim of the Patents-in-Suit, provide a chart
identifying where each element of each asserted claim is found in each Isolator product and/or
Embodying Product.


Response No. 4: Typemock repeats its objections to Interrogatories Nos. 1 and 2 and further

objects to this request as calling for legal conclusions, calling for claim construction positions in

advance of the Court's schedule therefor, and for seeking voluminous information of limited

relevance, and disproportionate to the needs of the case. Subject to the foregoing and to its

general objections, Typemock responds as follows:

        Typemock has not been able to locate the source code for any versions prior to 3.1.4.

Binaries for some of these versions are currently available, but Typemock has not been able to

locate the dependencies necessary to run these binaries. To the best recollection of the inventor,

and based on available Release Notes, versions made before the Critical Date, including versions

2.2-2.3.9, had limited functionality, but may have been capable of operating in accordance with

claims 1 and 50 of the '923 patent and claim 1 of the '041 patent. Further, based on this



                                                   13
       Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 15 of 19




                                                                                   CONFIDENTIAL

information, Typemock also states that the subject matter of many dep,~ndent claims of the

patents-in-suit, including many alleged to be infringed by Telerik, was not introductid until after

the Critical Date, as reflected in sm:h documents and in soun~e code that Typemock will make

available pursuant to the Protective Order.



Interrogatory No. 5: Describe and identify all licenses and efforts to license the Patents-in-Suit
and,,or any Related Patents.


Response No. 5: Typemock objects to discovery concerning "Related Patents" as defined to

include patents outside the family claiming priority based on US Prov. Pat. App. S;N 60/826, 749

as such discovery as irrelevant and disproportionate to the needs of the case.

       Subject to the foregoing and general objections, Typemock states that it has granted a

license to the family including the Patents-in-Suit to Microsoft Corporation, which Typemock

has produced on an "Attorneys' Eyes Only" basis (TYPEMOCK-0000001-10).

       \\Tith regard to earlier licensing efforts, Typemock will produce non-privileged responsive

documents sufficient to address this Interrogatory.



Interrogatory No. 6: Identify the date (or dates) that you contend constitute(s) the date(s) for the
hypothetical negotiation(s) contemplated by Georgia-Pacific Corp. v. U.S. Plywood Corp., 318
F. Supp. 1116 (S.D.N.Y. 1970), in determining a reasonable royalty for the Patents-in-Suit, and
describe the factual and legal basis for your contention.


Response No. 6: Su~ject to the general objections, Typemock states that the date requested is

generally taken to be the issue date of the relevant patent, but that later elates may be relevant

under facts to be developed in further discovery herein.




                                                  14
       Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 16 of 19




                                                                                     CONFIDENTIAL

Interrogatory No. 7: Separately for each asserted claim of the Patents-in-Suit, describe all facts
and circumstances evidencing your contention of the conctiption and rt~duction to practicti of the
alleged invention and any intervening diligern.:e, including, but not limited to, where, when, how,
and by whom the claim was conceived, tested, and reduced to practice, and identify any
documents, information and things you contend evidence the alleged conception, testing,
reduction to practice, and diligence.


Response No. 7: Subject to the general objections, Typemock states that the inventor came up

with the idea that was the basis of the Patents-in-Suit after trying to implement unit tesL.:;.

        The inventor considered the then current means to implement unit tests to be too difficult

and thus sought to develop another solution.

        The first solution the inventor found required changing the code to use Interfaces.

However, this was something the inventor considered undesirable as it changed the production

code. Then the inventor found he could use ContextBoundObject. But he determined this was

also not good enough for his requirements as it could not support generics.

        The inventor thtm looked for another solution and after trying many ways found he could

change the actual IL of the code. He started to wTite this method to isolate, and allowed others to

test it. Such testing is reflected in questions and comments in Typemock's online forum.

        The inventor thereafter further refined the invention and Typemock issued a first

commercial release of version 3.0, on November 23, 2005. Additional features described in said

provisional patent application were added in later versions.



Interrogatory No. 8: Separately for each asserted claim of the PatenLo;;-in-Suit, identify any
secondary considerations of non-obviousness you contend render the claimed invention non-
obvious, and describe all facts and identify all documents upon which you rely in support of your
contention.




                                                   15
        Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 17 of 19




                                                                                    CONFIDENTIAL

Response No. 8: Typemm:k objects to this Interrogatory as being premature as discovery has just

begun. Subject to tht~ foregoing, and to the general objections, Typemock identifies tlrn

following secondary considerations:

   1.   Among others, Typemock, Telerik, and Microsoft have obtained commercial success

        using and because of the subject matter claimed in the Patents-in-Suit

  11.   There had been a long-felt but unsolved need in the industry. Unit testing has always been

        considered a good practice but is hard to do, so developers tend not to do it, leading to

        numerous costly software bugs.

 111.   The inventor was required to overcome unexpected results, including but not limited to:

           a. The weaver must run well in debug mode too, and thus the inventor had to fix the

                debug to code mapping to ignore the code he added.

           b. The \Veaver must take into consideration small and large method headers and

                event handlers.

           c.   Try catch handlers must also be updattid to point to the correct positions in the

                code after the code has been added.

           d. Creating new code must take place when the assembly is first loaded.

           e. Signed assemblies can only call other signed assemblies so the l\.fock Framework

                is signed.

           f.   In order to support multiple .NET versions the same \Veaver is used and has

                instructions that enable it to use features of the later version only when that

                version is available.

           g. The Mock Framework assembly should not be weaved as this will lead to a

                recursive infinik loop.



                                                  16
       Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 18 of 19




                                                                                CONFIDENTIAL

 1v.   Copying of the patented invention by competitors, including but not limited to Telerik' s

       copying of Typemo<.:k code.



Dated: October 3, 2017


                                                  /s Ronald Abramson
                                                 Ronald Abramson (admitted pro hac vfr:e)
                                                 (ronald.abramson(q)lbkmlaw.com)
                                                 David G. Liston (admitted pro hac vice)
                                                 (david. liston@lbkmlaw.com)
                                                 LE;WIS BAACH KAUFMANN MII>DLEMISS PLLC
                                                 The Chrysler Building
                                                 405 Lexington A venue, 62nd Floor
                                                 New York, New York 10174
                                                 Tel.: (212) 826-7001

                                                 Philip C. Swain
                                                 (pcs@foleyhoag.com)
                                                 FOLEY HOAG LLP
                                                 155 Seaport Boulevard
                                                 Boston, J\,lA 02210-2600
                                                 Tel.: (617) 832-1000

                                                Attorneys.for Typemock, Ltd.




                                               17
      Case 1:17-cv-10274-RGS Document 56-2 Filed 04/12/18 Page 19 of 19




                                                                                CONFIDENTIAL

                                   CERTIFICATE OF SERVICE

       On this 3rd day of October, 2017, I certify that I caused a copy of Plaintiff's Typemock,

LTD. 's First Amended and Supplemental Objections and Responses to Defendant's First Set of

Interrogatories to be served upon the below-listed counsel of record for Defendants via email.


   Datt.id: October 3, 2017

   s/ Ronald Abramso,""-n=-----
      Ronald Abramson


                                          Steven M. Bauer
                                        John M. Kitchura, Jr.
                                       PROSKAUER ROSE LLP
                                        One International Place
                                  Boston, Massachusetts 021 10-2600
                                       sbauer@proskauer.com
                                      jkitdmra@proskauer.com
